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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

______________________________________________
                                                    )
FRANCOIS OLENGA                                     )
       Avenue-Frederick, No. 12                     )
       Ngaliema, Kinshasa                           )
       Democratic Republic of the Congo             )
                                                    )
                                         Plaintiff, )
                                                    )
       v.                                           )                    CIV. No. ________
                                                    )
ANDREA M. GACKI                                     )
in her official capacity as                         )                    COMPLAINT
       Director of the                              )
       United States Department of the Treasury     )
       Office of Foreign Assets Control             )
       1500 Pennsylvania Avenue, NW                 )
       Washington, D.C. 20220                       )
                                                    )
                            Defendant,              )
                                                    )
       and                                          )                    ECF
                                                    )
THE UNITED STATES DEPARTMENT                        )
OF THE TREASURY, OFFICE OF FOREIGN                  )
ASSETS CONTROL                                      )
       1500 Pennsylvania Avenue, NW                 )
       Freedman’s Bank Building                     )
       Washington, D.C. 20220                       )
                                                    )
                            Defendant.              )
                                                    )
______________________________________________ )

           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiff François Olenga (herein referred to as “Olenga”) brings this Complaint for

Declaratory and Injunctive Relief against Defendants Secretary of the Treasury, Steven T.

Mnuchin and the United States Department of the Treasury’s Office of Foreign Assets Control

(“OFAC”) and its Director, Andrea M. Gacki, and in support of his complaint alleges:


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                                        INTRODUCTION

       1.      Despite participating in good-faith in OFAC’s administrative reconsideration

process for nearly two years and demonstrating an insufficient basis for his designation, Olenga

remains sanctioned. OFAC has had the information in their possession to delist Olenga for months,

yet they have remained silent in the face of those facts. Defendants’ silence and failure to seriously

consider Olenga’s evidence and arguments in support of delisting are the direct cause of the

substantial harm—personal, professional, and pecuniary—that has been, and continues to be,

inflicted upon him. This harm is both unnecessary and unlawful.

       2.      On June 1, 2017, Olenga, a citizen of the Democratic Republic of Congo (“DRC”),

was targeted by Defendants for sanctions under Executive Order (“E.O.”) 13413, as amended by

E.O. 13671. As a result of those sanctions, he was identified on the Specially Designated Nationals

and Blocked Persons List (“SDN List”) administered by OFAC, and all property and interests in

property within U.S. jurisdiction in which Olenga had an interest were blocked.

       3.      In support of its designation, OFAC alleged that Olenga “oversees the Republican

Guard, an entity that has, or whose members have, engaged in actions or policies that undermine

democratic processes or institutions in the DRC.” Press Release, Treasury Sanctions Senior

Congolese Official for Leading Republican Guard in Undermining Democratic Processes, U.S.

Dep’t of Treasury, Office of Foreign Assets Control (June 1, 2017).

       4.      Olenga’s petition to OFAC seeking administrative reconsideration of his

designation advanced two arguments.         First, Olenga argued that OFAC’s allegations were

erroneous as Olenga did not exert any control—operational or otherwise—over the Republican

Guard. Second, Olenga argued that the circumstances had nonetheless fundamentally changed to

negate the basis for designation as Olenga no longer served in the former government position for




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which he was designated. For this reason, Olenga requested OFAC to immediately rescind his

designation and remove his name from its SDN List.

        5.      Throughout the administrative process, Olenga has provided timely information

and convincing evidence to OFAC showing that an insufficient basis exists for his designation and

that the circumstances have fundamentally changed so as to negate the basis for his designation.

In doing so, Olenga has responded to multiple questionnaires from OFAC and has provided official

documentary evidence supporting his responses to those questionnaires.

        6.      Olenga has done this without the benefit of having adequate notice as to the reasons

for his designation. Despite his early request for disclosure of the administrative record underlying

his designation, Olenga has not received a copy of the administrative record. Thus, the sole notice

provided to Olenga as to the potential bases for his designation is OFAC’s press release

announcing that designation.

        7.       It has been 22 months since Olenga submitted his reconsideration request, 14

months since he requested the administrative record underlying his designation, and nearly six

months since OFAC has substantively engaged Olenga in the reconsideration matter. OFAC has

not indicated when or if it intends to render a decision or release a copy of the administrative record

and has not sought any further information or document productions from Olenga. It is thus

apparent to Olenga that OFAC does not intend to fairly review his designation in light of the

exculpatory information he providedd nor in light of the changed circumstances that exist. Thus,

he turns to this court for relief.

                                     JURISDICTION AND VENUE

        8.      This action arises under the United States Constitution, the International

Emergency Economic Powers Act, 50 U.S.C. § 1701 et seq., the United Nations Participation Act,




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22 U.S.C. § 287c, and the Administrative Procedure Act, 5 U.S.C. § 701 et seq. This Court has

subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331 because this action arises

under the laws of the United States.

       9.      This Court may grant declaratory relief pursuant to the Declaratory Judgment Act,

28 U.S.C. § 2201 et seq., and Fed. R. Civ. P. Rule 57. This Court may grant injunctive relief

pursuant to Fed. R. Civ. P. Rule 65.

       10.     Venue is proper in the District of Columbia as this is the district in which the events

giving rise to the complaint occurred and in which Defendants reside. See 28 U.S.C. §§ 1391(b)

and (e).

                                         THE PARTIES

       11.     Francois Olenga is and was at all times relevant to this complaint a citizen of the

DRC. Olenga currently resides at Avenue-Frederick, No. 12, Ngaliema, Kinshasa, Democratic

Republic of the Congo.

       12.     On June 1, 2017, Olenga was designated under E.O. 13413, as amended, and his

name was added to the SDN List maintained and administered by OFAC. Exhibit A is a true and

accurate copy of the page of the SDN List containing Olenga’s name.

       13.     OFAC is a federal administrative agency of the U.S. Department of the Treasury

and is located at 1500 Pennsylvania Avenue, NW, Freedman’s Bank Building, Washington D.C.

20220. The Department of the Treasury is responsible for maintaining the financial and economic

security of the United States and for overseeing various offices, including OFAC. OFAC is

responsible for administering U.S. economic sanctions programs, including, inter alia, by

designating persons under E.O. 13413 and E.O. 13671 and regulating dealings with them under

those authorities via 31 C.F.R. Parts 501 and 547, the “Reporting, Procedures, and Penalties




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Regulations” and the “Democratic Republic of the Congo Sanctions Regulations,” respectively.

OFAC was responsible for designating Olenga under E.O. 13413, as amended.

        14.     Defendant Steven T. Mnuchin is the Secretary of the Treasury of the United States.

Mr. Mnuchin is sued in his official capacity.

        15.     Defendant Andrea M. Gacki is the Director of OFAC. Ms. Gacki is sued in her

official capacity.

                                  FACTUAL ALLEGATIONS

        A.      OFAC’s June 1, 2017 Designation of Olenga

        16.     On June 1, 2017, OFAC designated Olenga under E.O. 13413, as amended, for

allegedly “oversee[ing] the Republican Guard, an entity that has, or whose members have, engaged

in actions or policies that undermine democratic processes or institutions in the DRC.” Press

Release, Treasury Sanctions Senior Congolese Official for Leading Republican Guard in

Undermining Democratic Processes, U.S. Dep’t of Treasury, Office of Foreign Assets Control

(June 1, 2017). As a result, all of Olenga’s property and interests in property within U.S.

jurisdiction are blocked, and U.S. persons are generally prohibited from engaging in any

transactions or dealings with him.

        17.     OFAC’s press release announcing Olenga’s designation alleged that he held

“operational control over the Republican Guard” by virtue of his appointment as head of the

Maison Militaire; that he oversaw security operations on behalf of the former President to suppress

political opposition in the DRC; and that he “developed a plan to use the Republican Guard to

disrupt opposition activities and financial support.” Id.

        18.     OFAC has not identified whether the allegations found in the press release

constitute the totality of the reasons for OFAC’s designation of Olenga or what evidence OFAC




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has in its possession to support these allegations. For instance, while claiming that Olenga’s

position as head of the Maison Militaire provided him with control over the Republican Guard,

OFAC has not identified a reasoned basis for this belief and has provided no supporting evidence

for this claim.

        B.        Olenga’s Administrative Challenge to His Designation

        19.       On or about June 24, 2017, Olenga filed a request for administrative reconsideration

of his designation pursuant to OFAC’s delisting procedures at 31 C.F.R. § 501.807. OFAC’s

delisting procedures permit designated persons to challenge their designations by arguing that the

designation was made in error or that the circumstances have changed so as to nullify the basis for

the designation. During his reconsideration matter, Olenga argued that the factual basis underlying

OFAC’s designation action was in error or, alternatively, that the circumstances had changed so

fundamentally as to negate the basis for his designation.

        20.       Olenga’s reconsideration case has been pending before OFAC for the past 22

months. OFAC has yet to make a determination as to Olenga’s reconsideration petition and has

not provided any signal that it intends to issue any decision on that request in the near future.

        21.       During this reconsideration matter, Olenga has responded to multiple OFAC

questionnaires—dated January 10, 2018 and September 14, 2018, respectively—and has

supplemented his reconsideration petition with additional information and documentary evidence

relevant to OFAC’s consideration.

        22.       Olenga has also submitted correspondence to OFAC seeking notice as to the

reasons for his designation. On February 13, 2018, Olenga requested copies of the administrative

record underlying his designation. OFAC has not disclosed a copy of the administrative record—

unclassified or otherwise—since the time of this request. OFAC has also not provide any notice




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as to the reasons for Olenga’s designation via any alternative means. Olenga’s request for the

administrative record underlying his designation has thus remained outstanding for over 14 months.

       C.      Harm Done to Olenga

       23.     Defendants’ unlawful action has been personally, professionally, and pecuniarily

devastating to Olenga. Personally, Olenga’s reputation has been thrown in tatters since the time

of his designation, as OFAC has suggested that he is personally responsible for the crackdowns on

the DRC’s civil society and opposition activists in the lead-up to the elections and his name has

become linked with human rights abuse. As an individual who has sought to uphold the rule of

law and act consistent with basic norms of decency, such reputational damage is a personal affront

and contrary to the way he has long carried himself in public life. Financially, OFAC’s designation

action has caused an effective international boycott against Olenga, as U.S. and foreign persons

refuse to do business with him out of concern of their potential exposure to U.S. sanctions.

       24.     Defendants acknowledge these devastating costs, which—after all—are the

intended effect of their sanctions. As Defendants have stated, an OFAC designation is intended to

create “professional, personal, and financial isolation” for the targeted individual. Press Release,

U.S. Government Sanctions Organizations and Individuals in Connection with an Iranian Defense

Entity Linked to Iran’s Previous Nuclear Weapons Effort, U.S. Dep’t of Treasury, Office of

Foreign Assets Control (March 22, 2019).

       25.     The devastation to Olenga caused by his designation is incalculable. Such ruinous

costs must be framed within the context of OFAC’s negligent handling of this reconsideration

matter, where Defendants have refused to provide notice as to the basis for Olenga’s designation

and have refused to undertake a serious reconsideration of that designation despite being

confronted with countervailing facts and evidence.




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                                       LEGAL CLAIMS

                                            COUNT I

 DEFENDANTS’ FAILURE TO PROVIDE OLENGA WITH ADEQUATE NOTICE AS TO
THE REASONS FOR HIS DESIGNATION VIOLATES OLENGA’S DUE PROCESS RIGHTS
        UNDER THE FIFTH AMENDMENT TO THE U.S. CONSTITUTION

       26.     Olenga re-alleges and incorporates by reference as if fully set forth herein the

allegations in all preceding paragraphs.

       27.     Olenga is granted the right to petition Defendants for administrative reconsideration

of his designation pursuant to OFAC’s delisting procedures located at 31 C.F.R. § 501.807.

       28.     Under the Fifth Amendment to the U.S. Constitution, Olenga has a due process

right to adequate post-designation notice. Sufficient notice requires Defendants to apprise Olenga

as to the reasons for his designation so that Olenga has a meaningful opportunity to respond to the

designation, including the distinct factual bases under which he was designated.

       29.     Defendants have not provided sufficient notice for their determination that Olenga

meets the criteria for designation under E.O. 13413, as amended—i.e., that Olenga oversees the

Republican Guard, an entity that has, or whose members have, allegedly engaged in actions or

policies that undermine democratic processes or institutions in the DRC. Defendants have not

provided a full statement of reasons underlying their decision to designate Olenga under E.O.

13413, as amended, and have failed to provide sufficient detail or evidence to allow Olenga a

meaningful opportunity to rebut OFAC’s allegations. Defendants have repeatedly failed to

respond to Olenga’s requests for such notice.

       30.     Defendants have failed to provide Olenga with adequate and fair notice of the

reasons for his designation under E.O. 13413, as amended. Defendants have thus acted in violation

of Olenga’s due process rights under the Fifth Amendment to the U.S. Constitution.



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                                           COUNT II

 DEFENDANTS’ FAILURE TO PROVIDE OLENGA WITH ADEQUATE NOTICE AS TO
THE REASONS FOR HIS DESIGNATION VIOLATES OLENGA’S DUE PROCESS RIGHTS
              UNDER THE ADMINISTRATIVE PROCEDURE ACT

       31.     Olenga re-alleges and incorporates by reference as if fully set forth herein the

allegations in all preceding paragraphs.

       32.     Olenga is granted the right to petition Defendants for administrative reconsideration

of his designation pursuant to OFAC’s delisting procedures.

       33.     Consistent with this right to request administrative reconsideration of his OFAC

designation, Olenga has an administrative due process right to adequate post-designation notice.

Such notice requires Defendants to provide Olenga with the factual allegations and evidentiary

basis for Olenga’s designation, including, for instance, by granting Olenga access to the

administrative record underlying his designation.

       34.     Defendants have failed to provide Olenga with the administrative record underlying

his designation (or any portions thereof) and have not offered any adequate alternative by which

Olenga may understand the reasons for his designation. Because Olenga has been denied access

to the basis for his designation, Defendants have failed to provide him with adequate notice and

have thus violated his due process rights under the APA.

                                           COUNT III

       DEFENDANTS’ FAILURE TO RENDER A DECISION ON OLENGA’S
RECONSIDERATION REQUEST CONSTITUTES UNREASONABLE DELAY UNDER THE
                  ADMINISTRATIVE PROCEDURE ACT

       35.     Olenga re-alleges and incorporates by reference as if fully set forth herein the

allegations in all preceding paragraphs.




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       36.     A reviewing court “shall compel agency action unlawfully withheld or

unreasonably delayed.” 5 U.S.C. § 706(1).

       37.     Defendants’ failure to render a decision on Olenga’s reconsideration petition

constitutes unreasonable delay in violation of the Administrative Procedure Act, 5 U.S.C. § 701 et

seq., because Olenga filed his reconsideration petition more than 22 months ago and has yet to

receive a final agency determination regarding this petition or any other indication as to when a

determination may be forthcoming.

                                           COUNT IV

DEFENDANTS’ MAINTENANCE OF OLENGA’S DESIGNATION AND THE CONTINUED
  BLOCKING OF HIS INTERESTS IN PROPERTY CONSTITUTES ARBITRARY AND
     CAPRICIOUS ACTION UNDER THE ADMINISTRATIVE PROCEDURE ACT

       38.     Olenga re-alleges and incorporates by reference as if fully set forth herein the

allegations in all preceding paragraphs.

       39.     Agency action, findings, and conclusions found to be arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law shall be held unlawful by a reviewing court

and set aside. 5 U.S.C. § 706(2)(A).

       40.     Defendants’ maintenance of Olenga’s designation under E.O. 13413, as amended,

and the continued blocking of his interests in property is arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law in violation of the Administrative Procedure

Act, 5 U.S.C. § 701 et seq. This is because the evidence in the agency’s possession does not

provide a reasonable basis to believe that Olenga oversees the Republican Guard of the DRC.

                                       RELIEF REQUESTED

WHEREFORE, Olenga respectfully requests that this Court:




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       A.     Declare and/or order Defendants to rescind Olenga’s designation under E.O. 13413,

              as amended, and remove his name from the SDN List;

       B.     Order Defendants to issue a written, reasoned decision on Olenga’s pending

              reconsideration petition regarding his designation under E.O. 13413, as amended;

       C.     Order Defendants to disclose a full and sufficiently detailed statement of reasons as

              to OFAC’s decision to designate Olenga so as to permit Olenga a meaningful

              opportunity to challenge his designation under E.O. 13413, as amended;

       D.     Grant an award to Olenga of his costs and attorneys’ fees under the Equal Access

              to Justice Act, 28 U.S.C. § 2412 et seq., and any other applicable provision of law;

              and

       E.     Any other and further relief as the Court may deem proper.



Dated: April 19, 2019



                                                           Respectfully submitted,

                                                                /s/ Erich C. Ferrari, Esq.
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